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                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION


In re:                                                             §        Case No. 19-34054-sgj11
                                                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P.                                  §        Chapter 11
                                                                   §
         Reorganized Debtor.                                       §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                 §
                                                                   §
         Plaintiff.                                                §
v.                                                                 §        Adversary No. 21-03003-sgj
                                                                   §
JAMES D. DONDERO, NANCY DONDERO, AND                               §
THE DUGABOY INVESTMENT TRUST,                                      §
                                                                   §
         Defendants.                                               §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                 §
                                                                   §
         Plaintiff.                                                §
                                                                   §
v.                                                                 §
                                                                   §        Adversary No.: 21-03005-sgj
NEXPOINT ADVISORS, L.P., JAMES                                     §
DONDERO, NANCY DONDERO, AND THE                                    §
DUGABOY INVESTMENT TRUST,                                          §
                                                                   §
         Defendants.                                               §




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HIGHLAND CAPITAL MANAGEMENT, L.P.,               §
                                                 §
        Plaintiff.                               §
                                                 §
v.                                               §
                                                 §           Adversary No.: 21-03006-sgj
HIGHLAND CAPITAL MANAGEMENT                      §
SERVICES, INC., JAMES DONDERO, NANCY             §
DONDERO, AND THE DUGABOY                         §
INVESTMENT TRUST,                                §
                                                 §
        Defendants.                              §

HIGHLAND CAPITAL MANAGEMENT, L.P.,               §
                                                 §
        Plaintiff.                               §
                                                 §
v.                                               §
                                                 §           Adversary No.: 21-03007-sgj
HCRE PARTNERS, LLC (n/k/a NEXPOINT               §
REAL ESTATE PARTNERS, LLC), JAMES                §
DONDERO, NANCY DONDERO AND THE                   §
DUGABOY INVESTMENT TRUST,                        §
                                                 §
        Defendants.                              §




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                   DEBTOR’S BRIEF IN SUPPORT OF ITS
    OBJECTION TO MOTION TO COMPEL ARBITRATION AND STAY LITIGATION

         Highland Capital Management, L.P., the reorganized debtor (the “Debtor” or “HCMLP”)

in this chapter 11 case (“Bankruptcy Case”) and the plaintiff in these procedurally consolidated

adversary proceedings (the “Adversary Proceedings”), files this brief (the “Brief”) in support of

its objection (the “Objection”) to the Motion to Compel Arbitration and Stay Litigation (the

“Arbitration Motion”) filed by defendants James Dondero, Nancy Dondero, and the Dugaboy

Investment Trust (collectively, the “Dondero Defendants”) in each of the Adversary Proceedings.

In support of its Objection, HCMLP states as follows:

                                              INTRODUCTION

         1.       The Dondero Defendants now give us the latest installment of their ever-changing

defense of these simple adversary proceedings to collect on demand notes that together constitute

one of the estate’s most valuable assets. These defendants invoke a right to arbitration they don’t

have, based on a rejected limited partnership agreement (“LPA”) they simultaneously

mischaracterize and ignore, intending to frustrate the liquidation of estate assets by multiplying

litigation, wasting time, and increasing chaos.

         2.       The Dondero Defendants never had a right to arbitrate the original subject matter

of these adversary proceedings. 1 Even if they once had a right to arbitrate certain issues (such as




1
  The Arbitration Motion seeks only to arbitrate three of the five new counts in the Debtor’s amended complaints,
which themselves were necessitated by the shifting sands of the Dondero Defendants’ story. First, James Dondero
argued that the demand notes were simply forgiven. When asked whether he paid income tax on the cancelation of
debt from that alleged forgiveness, Mr. Dondero admitted he had not. That admission led him to make his second
argument—that the Debtor had somehow agreed that the notes would be forgiven on satisfaction of a “condition
subsequent.” When asked who made such an agreement on the Debtor’s behalf, Mr. Dondero initially claimed that
he did—that he had made an agreement with himself. Apparently after realizing how absurd that sounded, Mr.
Dondero then changed his story a third time—now claiming (only slightly less absurdly) that it was his sister, Nancy
Dondero, on Dugaboy’s behalf, who made this peculiar agreement to forgive the notes. This “Alleged Agreement”
is, evidently, not memorialized in any writing and exists entirely in the Dondero Defendants’ collective mind. But it

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their putative affirmative defenses), the LPA, under which that right would have arisen, has been

rejected under Bankruptcy Code § 365. And even if the LPA had not been rejected, the Dondero

Defendants waived any right to arbitrate. Their deliberate actions — including serving extensive

written discovery demands in the above-referenced adversary proceedings (which the Debtor has

responded to) and doing so in a manner that plainly violates the very arbitration clause they now

seek to invoke — and their representations to this Court should cause this Court to judicially estop

them from claiming such a right now.

         3.       And even if they had a right to arbitrate, and even if they hadn’t waived it, and even

if they were not estopped from claiming a right to arbitrate, the Dondero Defendants seek relief in

the Arbitration Motion that would tear apart these Adversary Proceedings — which they stipulated

to consolidate — splitting them into several pieces. The District Court (with this Court’s

assistance) would hear the claims against the obligors under the Notes (including Mr. Dondero)

who do not claim a right to arbitrate, while an arbitrator hears some — but not all — of the claims

against the Dondero Defendants. Making matters worse, the District Court and the hypothetical

arbitrators would hear the exact same evidence from the exact same witnesses concerning the

merits of the Defendants’ newly concocted “conditions subsequent” defense. Were any of this

possible, it would certainly be wasteful and inefficient, squandering time and judicial resources

simply to increase the possibility of inconsistent results on the same claims and defenses,

multiplying appeals, and casting this entire case ever deeper into a miasma of litigation.

         4.       The Arbitration Motion lacks merit, ignores orders of this Court, flouts both law

and fact, and offends common sense. It should be denied.




was that position that necessitated the Debtor to add counts pertaining to fraudulent transfer and breach of fiduciary
duty, three of which the Dondero Defendants now seek to arbitrate.


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 THE ARBITRATION CLAUSE DID NOT SURVIVE DEBTOR’S REJECTION OF LPA

          5.     In some 20 pages, the Dondero Defendants devote all of two sentences, including

a citation to an inapplicable case from outside this jurisdiction, to addressing a fundamental flaw

undermining the entire Arbitration Motion: the Debtor rejected the LPA — including the

arbitration provision — under section 365 of the Bankruptcy Code (“Section 365”). Under Article

V.A. of the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (As

Modified) [Docket No. 1808] (the “Plan”), any executory contract not already assumed in

accordance with an order of the Court or included in the Plan Supplements (as identified and

defined in the Confirmation Order, defined below) as an assumed contract was deemed rejected as

of the entry of the Court’s order confirming the Plan. The Order (I) Confirming the Fifth Amended

Plan of Reorganization of Highland Capital Management, L.P. (as Modified) and (II) Granting

Related Relief [Docket No. 1943] (the “Confirmation Order”) provided for the rejection of all non-

assumed executory contracts, including the LPA. See Confirmation Order ¶ Q.

          6.     There is no dispute that the LPA was an executory contract that was deemed

rejected under the Confirmation Order. The implications of that rejection are obvious: the Debtor

is excused from any obligations it once had under the rejected LPA, and any damages non-debtor

parties to the rejected LPA may have must be asserted as general unsecured claims against the

estate.

          7.     By blithely ignoring the LPA’s rejection, the Dondero Defendants would presume

to have this Court order specific performance of a rejected executory contract, legally and

practically nullifying this Court’s Confirmation Order. The same District Court that will hear these

Adversary Proceedings ruled that non-debtor parties to an executory contract that contained

arbitration provisions could not compel arbitration after that executory contract was rejected, even



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“while acknowledging there are strong federal policy considerations behind the FAA that should

be taken into account.” 2

           8.       In Janvey, Judge Godbey carefully and extensively analyzed whether the arbitration

provisions of a larger executory contract should be considered as separate executory contracts

subject to rejection under Section 365, and concluded they should: “Under Countryman’s … test

this Court concludes that arbitration agreements must be analyzed as separate executory contracts,

based on the nature of the agreement as well as arbitration caselaw regarding severability … ‘an

arbitration agreement is a classic executory contract, since neither side has substantially performed

the arbitration agreement at the time enforcement is sought.’” 3 Having determined that the

arbitration provisions constituted an executory contract and that the executory contract had been

rejected, Judge Godbey reasoned, “the appropriate remedy in this circumstance cannot be for the

Court to require specific performance by the trustee—i.e., to compel arbitration—because ‘injured

part[ies] cannot insist on specific performance by the trustee.’” 4

           9.       Ultimately, the District Court in Janvey refused to compel arbitration in light of the

rejection of the arbitration clause-containing contract because “[i]f the Court required the Receiver

to adopt these arbitration agreements, it would greatly burden and deplete the receivership estate.

Such a result, weighed in the balance, would be unjust and inequitable.” 5 If enforcing an

arbitration provision is unjust and inequitable simply because arbitration is sought against the party



2
    Janvey v. Alguire, 2014 U.S. Dist. LEXIS 193394 at *41 (N.D. Tex. July 30, 2014).
3
    Id. at *112-13 (quotations omitted).
4
  Id. at *113 (quotations omitted, noting also that the “legislative history of § 365(g) makes clear that the purpose of
the provision is to provide only a damages remedy for the non-bankrupt party”).
5
  Id. at *116. Janvey involved proceedings in a federal equities receivership action. Noting the paucity of caselaw
arising in the relatively uncommon context of such receiverships, Judge Godbey relied entirely on the more robust
body of Bankruptcy Code jurisprudence for his rulings and treated the receiver as though it were a trustee under the
Bankruptcy Code. See id. at *100-01.


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that rejected the contract under Section 365, additional equitable considerations that may become

evident in these cases would militate even more strongly against compelling arbitration here. 6

         10.      If the Dondero Defendants legitimately wanted this Court to consider the strong

federal policy favoring arbitrations as part of an opposition to the Debtor’s rejection of the LPA,

they could have. They didn’t. As noted above, the Confirmation Order effected the rejection of

the LPA as part of confirmation of the Debtor’s Plan, but the Confirmation Order was not entered

until after the Dondero Defendants had a full opportunity to object to the rejection of the LPA.

More significantly, the complaints in these Adversary Proceedings were filed on January 22, 2021,

almost two weeks before plan confirmation, meaning that the Dondero Defendants had notice and

time to oppose confirmation on the basis that rejection of the LPA could implicate their ability to

arbitrate at least their affirmative defense to the complaints. 7

         11.      James P. Seery, Jr., the Debtor’s Chief Executive Officer, testified at confirmation

and removed any doubt that collection actions had been commenced to recover under the notes:

         The debtor has certain notes that are demand notes. These are all from related
         entities. Most of the notes, the demand notes, we have demanded, and we have
         commenced litigation to collect. And we assume that we’re going to be able to
         collect those …. We have accelerated those notes and we’ve asserted demands and
         we commenced litigation, I believe, on each of those last week to collect. So we

6
  Consider, for example, a statement from the concurring opinion in Janvey v. Alguire, 847 F.3d 231 (5th Cir. 2017),
an appellate decision from the same case affirming the District Court’s denial of a motion to compel arbitration on a
different issue, and which left the District Court’s decision discussed above undisturbed. Judge Higginbotham, in a
concurring opinion, wrote “separately to state what is, to these eyes, a more fundamental reason that the arbitration
clauses in this case are not enforceable. Simply put, arbitration agreements may be rejected when they are instruments
of a criminal enterprise, as these arbitration agreements were.” 847 F.3d at 246.
7
  The Dondero Defendants cannot credibly claim ignorance of their need to preserve a right to arbitrate at that stage
of the proceedings. The complaints were filed before the confirmation hearing, and the Dondero Defendants certainly
knew at that point that they were (eventually) going to raise an affirmative defense regarding some secret agreement(s)
to excuse over $50 million of debt. They knew or should have known by then that such an affirmative defense would
rely on a highly questionable allegation that an insider had made an oral agreement with himself (and when that story
didn’t work, with his sister) to forgive tens of millions of dollars of valid debt and that it was inconceivable that the
Debtor would not challenge the validity of, enforceability of, and corporate authority of whomever these defendants
alleged were parties to, that extraordinary agreement. This dispute was not only foreseeable, it was a foregone
certainty. If the Dondero Defendants believed that dispute was subject to the Arbitration Clause, they were obligated
to raise that issue at plan confirmation. Rather than doing so, they sat in silence.


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         do estimate that we will collect on all of the notes that we’ve demanded and
         commenced action on.

Transcript, Confirmation Hearing (February 2, 2021) at 123:23-124:12 (emphases added).

         12.      The Dondero Defendants prosecuted objections to a great many factual and legal

issues associated with plan confirmation. Among those issues was the accuracy and assumptions

underlying the Debtor’s financial projections and liquidation analysis contained in the Debtor’s

plan supplement [Docket No. 1875-1] (the “Projections”) that formed the basis of the Debtor’s

showing under Bankruptcy Code sections 1129(a)(7) and (11). The Projections relied critically on

the 100% recovery of the demand notes. See Projections at 3 (assumption “C”). The Dondero

Defendants objected to plan confirmation based on several components of the Projections but

raised no objection to the collectability of demand notes that are the subject of these Adversary

Proceedings. Again, these Adversary Proceedings had already been commenced. Mr. Seery made

sure everyone knew that at confirmation, and the Debtor made sure that everyone knew the Debtor

expected to collect on the notes in 2021.

         13.      In the face of all of this, the Dondero Defendants said nothing to this Court about

(a) the alleged oral insider agreement to excuse the notes, (b) an affirmative defense to the

complaints seeking to monetize one of the most valuable assets of the estate, or (c) arbitration. 8

Instead, the Dondero Defendants evoked arbitration for the first time more than six months later




8
  Nancy Dondero and the trust she allegedly controls, Dugaboy, have been extremely active in this case. For example,
prior to confirmation, Dugaboy objected to a Rule 9019 motion (see, e.g., Docket No. 1706) and sought the
appointment of an examiner [Docket No. 1745]. Dugaboy also objected to the Plan [Docket No. 1667] and filed a
“supplement” on the eve of the confirmation hearing for the specific purpose of taking into account certain
“developments.” [Docket No. 1868]. Despite its active participation in the bankruptcy case, including its strenuous
objection to the Plan, Dugaboy (and its alleged control person, Nancy Dondero), never disclosed the Alleged
Agreement to the Debtor, the Court, or any parties-in-interest and never sought to protect an arbitration clause for an
inevitable dispute given the Debtor’s express assumptions and disclosures about the collectability of the Notes.


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in the form of the Arbitration Motion. 9 The law is clear: the LPA was rejected, so the Debtor is

excused from any attempt to specifically enforce an obligation the Debtor might have once had

under the LPA, whatever its original merits.

           14.      The Debtor agrees with the Dondero Defendants in one narrow sense: that this

Court need not consider whether it has discretion to order arbitration or not. As established by

both the District Court for the Northern District of Texas and the Fifth Circuit Court of Appeals,

when the arbitration provisions of an executory contract are rejected (along with the rest of the

contract), non-debtor parties simply cannot compel the debtor or trustee that rejected the contract

to arbitrate. This is true whether the claim sought to be arbitrated is core, non-core, Stern-core,

Stern-non-core, “arising from” the LPA, “arising under” the LPA, “related to” to the LPA, or

vaguely inspired by the LPA.

           15.      The cases the Dondero Defendants cite for the proposition that non-core matters

must be arbitrated are inapposite when the arbitration clause is found only in a rejected executory

contract. Even the Fleming case cited in the Arbitration Motion for the proposition that the

“Debtor’s rejection of the LPA does not absolve Debtor of its obligation to arbitrate” doesn’t

support that argument. The Dondero Defendants fail to tell this Court that, in Fleming, it was the

debtor that invoked an arbitration provision in a rejected executory contract. 10 The non-debtor

party claimed that the debtor was not entitled to arbitrate because the debtor had breached the

executory contract—see Bankruptcy Code section 365(g)—by rejecting it. In Fleming, then, the




9
 The novelty of the Dondero Defendants’ arguments regarding arbitration is a motif running through this opposition.
That these defendants have not raised an arbitration argument until now has fatal implications for the Arbitration
Motion—waiver, estoppel—that are discussed below.
10
     In re Fleming Cos., Inc., 325 B.R. 687 (Bankr. D. Del. 2005)


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party who wished to invoke the arbitration clause was the party that rejected the underlying

executory contract. 11

         16.      Here, it is the exact opposite: the Debtor—who intentionally rid itself of its

obligations under the LPA by rejecting the LPA (without objection or so much as a word about

arbitration from the Dondero Defendants)—is opposing the non-debtor’s attempt to invoke a

defunct arbitration provision contained in the rejected LPA. The Debtor asks this Court only to

enforce the Rejection Order in exactly the way the Debtor obtained it. Nothing of the sort occurred

in Fleming. 12

         17.      The better-reasoned and controlling cases to consider whether an arbitration clause

survives rejection of an underlying executory contract have ruled that a debtor’s rejection of an

executory contract (such as the LPA here) defeats the non-debtor party’s attempt to invoke an

arbitration clause in that rejected contract. 13

         18.      This is especially true where the non-debtor party has repeatedly waived the

arbitration clause by, among many other things, saying nothing about arbitration when the

underlying executory contract was being rejected. The long record of this case is devoid of any

indication that the Dondero Defendants sought or would ever seek to preserve some right to

arbitrate disputes allegedly arising from the LPA. That never happened until they filed their

Arbitration Motion. The failure to so much as mention arbitration in connection with the Debtor’s




 In re Fleming Co., Inc., 325 B.R. at 693 (quoting Southeastern Pa. Transp. Auth. v. AWS Remediation, Inc., 2003
11

WL 21994811 at *3 (E.D. Pa. Aug. 18, 2003)).
12
   Although the court in Fleming regarded the “distinction” as to who was seeking to compel arbitration as
“immaterial,” that statement is dictum from a court whose decisions, unlike the Fifth Circuit Court of Appeals, are not
controlling in this Court.
13
  Janvey v. Alguire, 847 F.3d 231 (5th Cir. 2017); Janvey v. Alguire, 2014 U.S. Dist. LEXIS 193394 (N.D. Tex. July
30, 2014).

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rejection of the LPA was just the first act and omission that waived any right to arbitration the

Dondero Defendants may have once had. There are more.

                   THE DONDERO DEFENDANTS WAIVED ARBITRATION

        19.      In August, with the approval of counsel for all defendants, the Debtor filed

unopposed motions for leave to amend its complaints in these Adversary Proceedings for the sole

purpose of adding the claims arising from the assertion of the “conditions subsequent” defenses.

In the orders granting those motions, the Court ordered that the “Debtor is deemed to have served

the Amended Complaint on the defendant on July 13, 2021 . . .” See, e.g., Order Granting Debtor’s

Unopposed Motion for Leave to Serve and File Amended Complaint [Adv. Pro. 21-03005, Docket

No. 57].

        20.      The unopposed motions for leave to amend were just one part of the parties’ efforts

to streamline and consolidate the Adversary Proceedings for discovery and related purposes. In

fact, in late August, with full knowledge that the Debtor was going to assert claims against James

Dondero, Nancy Dondero, and Dugaboy arising from the unauthorized entry into the Alleged

Agreement, the parties negotiated, executed, and asked this Court to approve stipulations that

addressed pre-trial matters, including fact and expert discovery, and consolidated the Adversary

Proceedings for discovery purposes. See, e.g., Stipulation and Agreed Order Governing Discovery

and Other Pretrial Issues [Adv. Pro. 21-03003, Docket No. 78].

        21.      On September 6, 2021, this Court entered its Order Approving Stipulation

Governing Discovery and Other Pre-Trial Issues [Adv. Pro. 21-03003, Docket No. 86] in all the

Adversary Proceedings, approving an extensive pretrial and discovery schedule intended to govern

those proceedings (the “Stipulations”). The Dondero Defendants signed those Stipulations and

asked this Court to approve them. The Dondero Defendants:



                                                  9
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            •    Never sought to insert a provision into the Stipulations contemplating arbitration of
                 any claims or defenses;

            •    Never advised the Debtor that they would seek to arbitrate any claims or defenses;

            •    Never advised this Court that they would seek to arbitrate any claims or defenses;

            •    Never advised this Court that the Stipulations called for discovery that would be
                 impermissible under the Arbitration Clause;

            •    Sought discovery impermissible under the Arbitration Clause;

            •    Accepted discovery responses from the Debtor impermissible under the Arbitration
                 Clause;

            •    Never moved to amend or vacate the Stipulations after abruptly seeking to invoke
                 the Arbitration Clause; and

            •    Did not inform this Court in their 20-page Arbitration Motion that arbitration and
                 the Stipulations were irreconcilably in conflict.

          22.      On September 3, 2021, after filing the Arbitration Motion but in compliance with

the negotiated and court-approved Stipulations, the Dondero Defendants, together with the

Obligors under the Notes, served extensive discovery on the Debtor. Morris Dec. Ex. A 14 (the

“AP Discovery”).            The Dondero Defendants offer no explanation as to how they could

simultaneously demand a stay of these proceedings in favor of arbitration while taking advantage

of the Stipulations and the Federal Rules of Bankruptcy Procedure to take discovery in this forum.

          23.      As if this duplicitous tactic were not outrageous enough, the Dondero Defendants

plainly violated the very Arbitration Clause they now rely on by seeking such sweeping discovery.

The Arbitration Clause (Section 6.14 of the LPA) contains express limitations on discovery: two

party depositions (six hours each), one non-party deposition, 25 requests for admission, 25




14
     “Morris Dec.” refers to the Declaration of John A. Morris submitted simultaneously in support of this Objection.


                                                          10
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interrogatories, and 10 document requests. 15 Yet, through the AP Discovery, the Dondero

Defendants have greatly exceeded these limits:

                  a.        James Dondero, just one of the Dondero Defendants who filed the

Arbitration Motion, alone served 39 separate document requests (not including subparts) in three

separate requests for production in April 2021 — 29 more requests for production than permitted

under the Arbitration Clause. Morris Dec. Ex. B. Most of those requests related to the Dondero

Defendants’ affirmative defense that the Debtor agreed to forgive the demand notes subject to

“conditions subsequent” — the same affirmative defense literally all defendants have now pled in

the consolidated Adversary Proceeding.

                  b.        James Dondero agreed in Adversary Proceeding No. 21-03003 to no fewer

than five depositions, two of parties James and Nancy Dondero [AP Docket Nos. 7 and 61], two

purported experts retained by James Dondero, Mr. McGovern and Mr. Johnson [AP Docket Nos.

63 and 64], and PricewaterhouseCoopers [AP Docket No. 71].

                  c.        After all demand-notes defendants adopted the “conditions subsequent”

defense and the parties agreed to consolidate discovery, the Dondero Defendants agreed to four

more depositions, bringing the total to nine — six more than permitted under the Arbitration

Clause. Morris Dec. Ex. C.

                  d.        In accordance with their Stipulations, the Dondero Defendants served the

AP Discovery on September 3, 2021, containing, among other things, 59 document requests,

bringing the total to 98 document requests — nearly ten times the amount permitted in the

Arbitration Clause. See Morris Dec. Ex. A.


15
  The Dondero Defendants grudgingly inform the Court of these limits in the Arbitration Motion by quoting this
essential part of the Arbitration Clause in a footnote – but fail to disclose that they will not only seek discovery in the
adversary proceedings, but that they have agreed to and will seek discovery well beyond that permitted under the
arbitration clause they cling to.


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           24.      The Stipulations that the Dondero Defendants negotiated, signed, and sought and

obtained this Court’s approval of provide (i) complete discovery schedules, (ii) that discovery

taken in one adversary proceeding can be used in all adversary proceedings, and that (iii) this Court

retains jurisdiction over “all matters and disputes arising out of or otherwise governing the

interpretation and enforcement of this Order.” Notably, no mention of arbitration, nor the

jurisdiction of the American Arbitration Association, nor the strict limits on discovery contained

in the Arbitration Clause is anywhere to be found in the Stipulations. 16

           25.      The Arbitration Motion must be seen for what it is: a last-minute dodge to avoid

the impending litigation of these adversary proceedings by invoking an Arbitration Clause these

defendants have studiously ignored to this point and have openly breached.

           26.      Although courts in the Fifth Circuit sometimes apply a presumption against waiver

of an arbitration right, the right can certainly be waived. 17 “Waiver will be found when the party

seeking arbitration substantially invokes the judicial process to the detriment or prejudice of the

other party.” 18 In this context, prejudice “refers to the inherent unfairness—in terms of delay,

expense, or damage to a party’s legal position—that occurs when the party’s opponent forces it to

litigate an issue and later seeks to arbitrate that same issue.’” 19 A party waives arbitration when it




16
   One possible explanation for the last-second invocation of arbitration is Nancy Dondero’s last-second retention of
Greenberg Traurig as her counsel. Whereas on August 17, 2021, Stinson LLP negotiated and signed the Stipulations
on behalf of James Dondero, Nancy Dondero, and others, Greenberg Traurig LLP was listed as Ms. Dondero’s counsel
on the Arbitration Motion filed on September 1, 2021. New counsel cannot change the extensive record in these cases;
and, in any event, Ms. Dondero’s new counsel signed on the extensive discovery sought in the adversary proceedings,
discovery that plainly violated the Arbitration Clause.
17
     Williams v. Cigna Fin. Advisors, Inc., 56 F.3d 656, 661 (5th Cir. 1995).
18
     Miller Brewing Co. v. Fort Worth Distrib. Co., 781 F.2d 494, 497 (5th Cir. 1986).
19
  Subway Equip. Leasing Corp. v. Forte, 169 F.3d 324, 327 (5th Cir. 1999) (quoting Doctor’s Assocs., Inc. v. Distajo,
107 F.3d 126, 134 (2d Cir. 1997)).


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“‘engage[s] in some overt act in court that evinces a desire to resolve the arbitrable dispute through

litigation rather than arbitration.’” 20

        27.      The Fifth Circuit Court of Appeals has declined to find waiver when litigants have

invoked their rights to arbitration early and unequivocally in the litigation, but it has found waiver

when litigants have failed to do so.

                                                Compare


        •     “[T]he defendant, by answer, has given notice of insisting on arbitration”— General
              Guaranty Insurance Co. v. New Orleans General Agency, Inc., 427 F.2d 924, 929 n. 5
              (5th Cir. 1970);

        •     Merely participating in initial discovery without “shower[ing] the opposing party with
              interrogatories and discovery requests”—Keytrade USA, Inc. v. Ain Temouchent M/V,
              404 F.3d 891, 898 (5th Cir. 2005) (quotation and alterations omitted).
                                                   with


        •     Party requested arbitration shortly before trial after answering complaint, conducting
              discovery, and filing numerous motions—Republic Ins. Co. v. PAICO Receivables,
              LLC, 383 F.3d 341, 344-45 (5th Cir. 2004);

        •     Party “initiated extensive discovery, answered twice, filed motions to dismiss and for
              summary judgment, filed and obtained two extensions of pre-trial deadlines, all without
              demanding arbitration”—Price v. Drexel Burnham Lambert, Inc., 791 F.2d 1156, 1159,
              1162 (5th Cir. 1986)

        28.      To the extent it ever actually existed (which, based on the record, is highly

questionable), the “conditions subsequent” defense was known only to Mr. and Ms. Dondero

before the commencement of the Adversary Proceedings. Mr. Dondero knew (or should have

known) in January 2021 when the actions were commenced that (a) his defense was the oral

agreement that he allegedly entered into with his sister, (b) that he had the burden of proving that

his sister was authorized, as the trustee of Dugaboy, to bind the Debtor to the Alleged Agreement,


20
   Keytrade USA v. Ain Temouchent M/V, 404 F.3d 891, 897 (5th Cir. 2005) (quoting Republic Ins. Co. v. PAICO
Receivables, LLC, 383 F.3d 341, 344 (5th Cir. 2004)).


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and that (c) based on the Projections, the commencement of the actions, and the testimony at the

confirmation hearing, the Debtor would contest the defense — and that the Arbitration Clause was

therefore in play.

         29.      Yet, Mr. Dondero and the other defendants controlled by him pressed ahead with

litigation in this Court. Like Mr. Dondero, the Obligors all raised the “conditions subsequent”

defense in amended answers (after Mr. Dondero finally settled on the outline of the defense).

Despite having the burden of proving that Nancy Dondero was authorized under the LPA to enter

into the Alleged Agreement on the Debtor’s behalf, the Obligors moved to withdraw the reference,

have propounded extensive discovery requests, and have demanded and agreed to many

depositions, some of which have already occurred. Together with the Dondero Defendants, they

have: (a) participated in pretrial hearings and arguments before this Court in these adversary

proceedings; (b) negotiated and drafted the detailed Stipulations that contemplated all pre-trial

litigation in this Court with trials on the merits to be conducted in the United States District Court

for the Northern District of Texas; (c) engaged in pretrial litigation in accordance with those

Stipulations; and (d) “showered the opposing party with interrogatories and discovery requests”

(which themselves vastly exceed the limits of the very Arbitration Clause that they seek to invoke,

notwithstanding the Debtor’s rejection of the LPA).

         30.      By breaching the Arbitration Clause, by failing to move to compel arbitration at

any one of the numerous opportunities they had to do so, by seeking discovery in the Adversary

Proceedings (let alone of a scope and in an amount that grossly exceeds the explicit limits the

Arbitration Clause imposes) and by keeping the Debtor and this Court completely in the dark about

their evident desire to invoke the Arbitration Clause for several months, 21 the Dondero Defendants


21
   One imagines the Dondero Defendants arguing that the only reason they seek to invoke the Arbitration Clause now
is because of the counts against them in the Debtor’s amended complaint, which raised allegedly arbitrable issues only

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have waived any right to arbitrate any issues in these adversary proceedings. They have waived

the relief they seek in the Arbitration Motion. It should be denied.

           THE DONDERO DEFENDANTS ARE ESTOPPED FROM ARBITRATING

           31.      By requesting — and receiving — extensive discovery from the Debtor well in

excess of what they would be permitted under the Arbitration Clause, and then demanding specific

performance of the rejected Arbitration Clause, the Dondero Defendants have asked this Court to

let them have it both ways — to say and do one thing, and then ask for its opposite. The Fifth

Circuit — employing the doctrine of judicial estoppel — eschews this type of manipulative

pleading and estops a party from receiving relief inconsistent with that party’s prior positions. The

Dondero Defendants should be judicially estopped from invoking the Arbitration Clause because

they have asked for and received relief in this Court diametrically opposed to the Arbitration

Clause.

           32.      A court invokes the doctrine of judicial estoppel to prevent a party from asserting

a position in a legal proceeding that is inconsistent with a position taken in a previous proceeding. 22

This equitable doctrine serves to “protect the integrity of the judicial process.” 23 Because the

doctrine of judicial estoppel is intended to protect the judicial system, rather than litigants, it is




recently. They would be wrong. If there is any legitimacy to their “undisclosed oral-agreement-to-excuse-$50 million”
defense, James Dondero and the Obligors knew of that defense in January 2021—some nine months ago—a defense
on which they have the burden of proof. One critical unproved element of that defense is that Nancy Dondero
possessed the legal authority to act for Dugaboy in setting James Dondero’s compensation. If the defense existed at
all, it existed in January 2021, and the burden of proving that defense existed in January 2021. The Dondero
Defendants had an affirmative obligation to raise the arbitrability of Nancy Dondero’s authority in January 2021, not
for the first time some nine months later.
22
     See Reed v. City of Arlington, 650 F.3d 571, 573-74 (5th Cir. 2011) (en banc).
23
     New Hampshire v. Maine, 532 U.S. 742, 749-50 (2001) (citation and internal quotation marks omitted).


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unnecessary to show detrimental reliance by the opponent of the party against whom the doctrine

is applied. 24

           33.      Courts in the Fifth Circuit generally consider three criteria when evaluating a

defense of judicial estoppel: (1) the party against whom judicial estoppel is sought has asserted a

legal position that is “plainly inconsistent” with a position asserted in a prior proceeding; (2) the

court in the prior proceeding accepted that party’s original position, thus creating the perception

that the court was misled; and (3) the party to be estopped has not acted inadvertently. 25 But

judicial estoppel is not governed by “inflexible prerequisites or an exhaustive formula for

determining [its] applicability,” and numerous considerations “may inform the doctrine’s

application in specific factual contexts.” 26

           34.      The Dondero Defendants’ intentional conduct in this Court, affirmative

representations to this Court, and receipt of relief from this Court militate strongly in favor of

judicially estopping these defendants from invoking a right to arbitration. Consider their conduct

within the context of the Fifth Circuit’s criteria for judicial estoppel:

                    a.        Plainly inconsistent. This requirement looks to the party’s conduct. 27 The

Dondero Defendants (a) affirmatively sought and obtained extensive discovery in the Adversary

Proceedings, (b) served discovery requests that breached the express limits on discovery set forth




24
  Love v. Tyson Foods, Inc., 677 F.3d 258, 261 (5th Cir. 2012). Of course, HCMLP has already responded to the
Dondero Defendants’ extensive discovery requests served in the adversary proceedings, and therefore can, in fact,
prove “detrimental reliance” through compliance with discovery requests that would plainly be improper under the
arbitration clause. As a court of equity, the Court should take that into account as a matter of fairness.
25
     Love, 677 F.3d at 261.
26
     New Hampshire, 532 U.S. at 751.
27
  See, e.g., Barrett-Bowie v. AmeriDream Educ. Concepts, LLC, 2014 U.S. Dist. LEXIS 39534, at *9-10 (N.D. Tex.
Feb. 26, 2014) (plaintiff asserted “plainly inconsistent” positions by not disclosing in her bankruptcy schedules the
claims against defendants arising out the servicing of her loan; clearly represented to the bankruptcy court that she
had no such claim but then later asserted the opposite).


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in the arbitration clause, (c) agreed to substantially more depositions than permitted under the

arbitration clause (see Morris Dec. Ex. C), and (d) affirmatively sought and obtained this Court’s

approval of the Stipulations, which contained procedures, deadlines, discovery guidelines and

requirements, and even jurisdictional provisions all diametrically opposed to what would pertain

in any arbitration under the LPA. The Dondero Defendants’ conduct is plainly inconsistent with

the Arbitration Clause they now seek to exploit.

                  b.        Judicial acceptance. This second requirement for the application of judicial

estoppel ensures that judicial estoppel is only applied in situations where the integrity of the

judiciary is jeopardized. 28 This Court accepted the statements of the Dondero Defendants’ counsel

in support of approval and adoption of the Stipulations. The Dondero Defendants asked this Court

for something and got it. In fact, all of the Dondero Defendants’ statements to this Court regarding

the conduct of these Adversary Proceedings were heard and relied on by this Court. Had the

Dondero Defendants alerted this Court or the Debtor of their intent to invoke a right to arbitrate,

this Court and the Debtor would likely have made different decisions and entered different orders

pertaining to the conduct of these Adversary Proceedings. 29 The Court accepted the Dondero

Defendants’ representations and actions and is now asked to grant relief wholly inconsistent with

those representations and actions. This Court could be excused for feeling misled.

                  c.        Inadvertence. This third requirement seeks to uncover whether “either that

[the party] did not know of the inconsistent position or that [the party] had no motive to conceal it




28
  Wells Fargo Bank, N.A. v. Titus Chinedu Oparaji (In re Titus Chinedu Oparaji), 698 F.3d 231, 237 (5th Cir. 2012)
(“Absent judicial acceptance of the inconsistent position, application of the rule is unwarranted because no risk of
inconsistent results exists” (quoting Edwards v. Aetna Life Ins. Co., 690 F.2d 595, 599 (6th Cir. 1982))).
29
  The Debtor would certainly have behaved differently had it had any inkling that these defendants would attempt, at
this late stage, to compel arbitration. The Debtor’s detrimental reliance is not, however, an element of judicial estoppel.


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from the court.” 30 This Court need not read the Dondero Defendants’ mind to reasonably ascertain

that there was nothing inadvertent about months of pretrial litigation and discovery actively

participated in by these defendants in federal court, nothing inadvertent about participating in the

negotiation, drafting, and advocacy in favor of the Stipulations plainly inconsistent with

arbitration, nothing inadvertent about appearing before this Court to address myriad issues

pertaining to the conduct of these adversary proceedings without once mentioning arbitration. The

Dondero Defendants have intentionally taken and persisted for months in a position entirely

inconsistent with the position they now take in the Arbitration Motion. The integrity of this Court’s

proceedings cannot and should not be undermined by these defendants’ distasteful willingness to

contradict themselves.

         35.      The Dondero Defendants have spoken, written, and conducted themselves at all

times plainly inconsistently with the Arbitration Clause or any arbitral process contemplated by

the LPA. They have done so intentionally and have succeeded in persuading this Court to rely on

their actions and representations. They must now be judicially estopped from derailing these

proceedings in favor of an arbitration that conflicts with everything these defendants have said and

done to this point.

                                   POINTLESS, WASTEFUL DELAY

         36.      The Arbitration Motion asks this Court to (a) permit the Dondero Defendants an

opportunity to arbitrate an affirmative defense and three new complaint counts brought only in

response to that affirmative defense, and (b) stay all judicial proceedings regarding the central



30
  Jethroe v. Omnova Solutions, Inc., 412 F.3d 598, 601 (5th Cir. 2005); see also Allen v. C & H Distribs., L.L.C., 813
F.3d 566, 573-74 (5th Cir. 2015) (plaintiffs filing personal injury lawsuit could not have shown that their failure to
disclose their suit was inadvertent because they knew of the facts underlying the claim during the pendency of the
bankruptcy proceedings, and plaintiffs’ motivation for concealment was self-evident because of the potential financial
benefit resulting from nondisclosure).


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subject matter of these adversary proceedings—the Dondero Defendants’ failure to pay on demand

notes and turn over funds that would liquidate one of the estate’s most valuable assets.

        37.      But even if this Court were persuaded that it would be prudent to stay the vast bulk

of these adversary proceedings so that tangential issues of the Dondero Defendants’ making could

be arbitrated in accordance with an arbitration clause those defendants have both breached and

ignored for months, the Court would be doing so to accomplish exactly nothing. To understand

why, one need only look again at the Arbitration Clause to realize the utter futility of arbitrating

anything in these Adversary Proceedings.

        38.      Whichever party dislikes any portion of the arbitrator’s decision has an unfettered

right to seek de novo review of that decision in the U.S. District Court for the Northern District of

Texas (the same court that will conduct trials (if these cases are not summarily dismissed)

concerning the exact same legal issues, facts, and witnesses regarding the “conditions subsequent”

defense). To wit:

        Any discovery not specifically provided for in this paragraph, whether to parties or
        non-parties, shall not be permitted. The arbitrators shall be required to state in a
        written opinion all facts and conclusions of law relied upon to support any decision
        rendered. The arbitrators will not have the authority to render a decision that
        contains an outcome based on error of state or federal law or to fashion a cause of
        action or remedy not otherwise provided for under applicable state or federal law.
        Any dispute over whether the arbitrators have failed to comply with the foregoing
        will be resolved by summary judgment in a court of law.

Arbitration Clause, Section 6.14 of the LPA.

        39.      Because a “court of law” must resolve “any dispute” regarding the bases of the

arbitrator’s decision and because exclusive jurisdiction over these Adversary Poceedings rests in

this Court and in this District, the inevitable dispute arising from one party or another dissatisfied

by the arbitrator’s decision will assuredly drag what this Court would have ordered to arbitration

right back to where it came from. What is more, the arbitration would already proceed under a


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cloud of illegitimacy because there has already been far too much discovery between these parties

to conform with the strictures established in the Arbitration Clause. How can something that has

already happened “not be permitted”?

        40.      Staying the genuine, fundamental matters at issue in these Adversary Proceedings

for what would likely be months, at a minimum, in favor of some non-binding arbitration of

alternative theories of recovery (raised by defendants who have waived arbitration), only to be

assured of having those issues brought right back to the court they’re in right now, is an enormous

waste of time, money, and judicial and arbitral resources.

        41.      The Arbitration Motion does not even address whether the proceedings against

other defendants who do not claim a right to arbitrate would be stayed. What of those cases? If

they proceed, and because those defendants have adopted the same affirmative defenses the

Dondero Defendants would be arbitrating, what prevents this Court (or the District Court) from

reaching different results on the same issues as the arbitrators? Would the court rulings be binding

on the Dondero Defendants as law of the case, irrespective of the arbitral result? How many more

pieces of ancillary litigation related to the collection of demand notes will these defendants

propagate before the system groans under the unwarranted burden?

        42.      After nearly a year of federal-court litigation already — after the LPA has been

rejected, after the Dondero Defendants have repeatedly breached and waived the Arbitration

Clause, after it has already been established that only some defendants in these consolidated

adversary proceedings even assert a right to arbitrate — after all that, we must acknowledge this:

arbitration is a pointless dalliance. It’s delay for delay’s sake.

                                           CONCLUSION

        43.      For these reasons, to preserve the integrity of the judicial process, to avoid the

needless multiplication of litigation, to enforce this Court’s prior orders, to ensure that what has

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been waived stays waived, and to move these proceedings forward rather than backward, this Court

should deny the Arbitration Motion.

Dated: September 28, 2021.               PACHULSKI STANG ZIEHL & JONES LLP

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